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NOT!CE OF APPEAL
TO
U.S. COURT OF APPEALS, THIRD CIRCUIT

U.S. District Court for the District of Delaware
CIRCUlT COURT
DOCKET NUMBER:

(leave blank)
FULL CAPTION IN DISTRlC'I` COURT AS FOLLO\VS:

lnsnucTcouRT _
JAMES ANDERSON 1)0CKET NUMBF.R= NO' 08 808

 

v. lnsnucrcogpr 0
FREDERCIK FORD MERCURY INC JUDGE= UE L' R BINSON

 

 

JAMES ANDERSON, PLAINTIFF
Nolice is hereby given that

 

(Named Party)
appeals to the United States Court ol`Appeals for the Third Circuit from [X] Judgment, [ ] Order

1

[ ] Other (speci fy) ‘

 

l v , MARCH 17, 2010
mnemdlntmsacuonon

 

_ (date)
Aprll 16, 2010
Dated:

/S aggie Clausell

(Counsel for Appellant-Signature)

Maggie Clausell

 

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NOTE: USE ADDIT|ONAL SHEETS if all appellants and/or all counsel for appellees cannot be listed on the

Notiee of Appeal sheet.

